                                                                               FILED
                                                                      2025 Jan-30 AM 07:29
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA


CASSANDRA SIMON, SYDNEY
TESTMAN, MIGUEL LUNA,
ISABELLA CAMPOS, DANA PATTON,
RICHARD FORDING AND THE
ALABAMA STATE CONFERENCE OF
THE NAACP

Plaintiffs,

v.                                       Case No. 2:25-cv-00067-MHH

KAY IVEY in her official capacity as       Oral Argument Requested
Governor of Alabama and President Ex-
Officio of the University of Alabama
Board of Trustees, SCOTT PHELPS in
his official capacity as President Pro
Tempore, University of Alabama Board of
Trustees, MIKE BROCK, KAREN
BROOKS, MYLA E. CALHOUN,
RONALD GRAY, JEFF GRONBERG,
O.B. GRAYSON HALL JR., BARBARA
HUMPHREY, W. DAVIS MALONE III,
EVELYN VANSANT MAULDIN,
HARRIS MORRISSETTE, J. STEVEN
ROY, KENNETH SIMON, MARIETTA
URQUHART and KENNETH
VANDERVOORT in their official
capacities as members of the University of
Alabama Board of Trustees

Defendants.




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 PLAINTIFFS’ OPPOSED MOTION FOR PRELIMINARY INJUNCTION



       Plaintiffs Cassandra Simon, Richard C. Fording, Dana Patton, Sydney

Testman, Miguel Luna, Isabella Campos, and the Alabama State Conference of the

NAACP (collectively, “Plaintiffs”), by their undersigned counsel, respectfully move

the Court, pursuant to Federal Rule of Civil Procedure 65(a), for a preliminary

injunction against the enforcement of SB 129 by Alabama Governor Kay Ivey and

members of the Board of Trustees for the University of Alabama System in their

official capacities (collectively, “Defendants”).

       SB 129 enacts viewpoint discriminatory restrictions on professors’ First

Amendment right to speak and students’ First Amendment right to learn and engage

in extracurricular activities and campus spaces. SB 129 also violates the Fourteenth

Amendment because it is so vague that professors and students do not have sufficient

notice of what is and is not prohibited in terms of both instruction and receiving state

funding for extracurricular activities and spaces. As more fully set forth in Plaintiffs’

Memorandum of Support, Plaintiffs are likely to succeed on the merits of their

claims and will suffer irreparable harm from the enforcement of SB 129 in the

absence of preliminary relief. The balance of equities tilts strongly in their favor, and

an injunction protecting their constitutional rights is in accord with the public

interest.



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                          Wherefore a preliminary injunction should issue.

Dated this 30th day of January 2025.

Respectfully submitted,

/s/ Alison Mollman                           /s/ Antonio L. Ingram II
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